Case 2:21-cv-05242-RSWL-MRW Document 18 Filed 12/02/21 Page 1 of 1 Page ID #:643




     1                        UNITED STATES DISTRICT COURT
     2                      CENTRAL DISTRICT OF CALIFORNIA
     3
     4
     5                                                  ) No. 2:21-cv-05242-RSWL-MRW
         VERONIKA ALEXANDER,
                                                        )
     6         Plaintiff,                               )
                                                        ) JUDGMENT
     7                v.                                )
                                                        )
     8                                                  )
         KILOLO KIJAKAZI, Acting                        )
     9   Commissioner of Social Security,               )
                                                        )
    10                                                  )
         Defendant.                                     )
    11                                                  )
                                                        )
    12                                                  )
                                                        )
    13
    14
               Having approved the parties’ joint stipulation to voluntary remand
    15
         pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
    16
         COURT ADJUDGES AND DECREES that judgment is entered for Plaintiff.
    17
    18
    19   Date: 'HFHPEHU                  V 521$/' 6: /(:
    20
                                              521$/' 6: /(:
                                              UNITED STATES ',675,&7 JUDGE
    21
    22
    23
    24
    25
    26
    27
    28




                                                -1-
